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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   GREENVILLE DIVISION

 Thomas Charles Felton Jones,                  )
                                               )
                      Plaintiff,               )       PLAINTIFF’S ANSWERS TO LOCAL
                                               )        RULE 26.01 INTERROGATORIES
                vs.                            )
                                               )          C.A. No.: ___________________
 Deputy Jonathan Cooper, Deputy James          )
 Berggrun, Deputy Charles Lancaster,           )
 Deputy John Thomas Edwards, and               )
 Sergeant Michael Kastner,                     )
                                               )
                      Defendants.              )

       Plaintiff submits the following answers to Local Rule 26.01 interrogatories:

   A. State the full name, address, and telephone number of all persons or legal entities who
      may have a subrogation interest in each claim and state the basis and extent of said
      interest.

The Plaintiff has not been provided with notice of any persons or legal entities who may have a
subrogation interest.

   B. As to each claim, state whether it should be tried jury or nonjury and why.

All claims should be tried by a jury because the Plaintiff has demanded a trial by jury and the
claims are triable by a jury.

   C. State whether the party submitting these responses is a publicly owned company and
      separately identify: (1) each publicly owned company of which it is a parent,
      subsidiary, partner, or affiliate; (2) each publicly owned company which owns ten
      percent or more of the outstanding shares or other indicia of ownership of the party;
      and (3) each publicly owned company in which the party owns ten percent or more of
      the outstanding shares.

The Plaintiff is not a publicly owned company, nor is he a subsidiary, partner, or affiliate of a
public owned company, nor is he owned by a publicly owned company, nor does he own 10% or
more of the outstanding shares of a publicly owned company.

   D. State the basis for asserting the claim in the division in which it was filed (or the basis
      of any challenge to the appropriateness of the division). See Local Civil Rule 3.01.

This is the division that embraces Greenville County, where a substantial portion of the acts or
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omissions are alleged to have occurred.

   E. Is this action related in whole or in part to any other matter filed in this District,
      whether civil or criminal? If so, provide: (1) a short caption and the full case number
      of the related action; (2) an explanation of how the matters are related; and (3) a
      statement of the status of the related action. Counsel should disclose any cases which
      may be related regardless of whether they are still pending. Whether cases are related
      such that they should be assigned to a single judge will be determined by the Court of
      court based on a determination of whether the cases; arise from the same or identical
      transactions, happenings or events; involve the identical parties or property; or for
      any other reason would entail substantial duplication of labor if heard by different
      judge?

The action is not related in whole or in part to any other matter filed in this District.



July 21, 2021                                  /s/ Kyle J. White
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